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No. 24-3296

IN THE UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT

SANDRA YOUSEFZADEH, ET AL., NEWTON’S PHARMACY, INC.,

PLAINTIFFS-APPELLANTS,

(For Continuation of Caption See Inside Cover)

On Appeal from the United States District Court
for the Eastern District of New York
Case No. 1:23-md-03089-BMC
The Honorable District Judge Brian M. Cogan, Presiding

BRIEF OF AMICUS CURIAE CHAMBER OF COMMERCE OF
THE UNITED STATES OF AMERICA SUPPORTING

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GWEN THOMAS, RHONDA NITTO,
PLAINTIFFS,

V.

JOHNSON & JOHNSON CONSUMER INC., RB HEALTH (US) LLC, TARGET
CORPORATION, BAYER HEALTHCARE, LLC, A DELAWARE LIMITED LIABILITY
CORPORATION, WALMART INC., A DELAWARE CORPORATION, CVS
PHARMACY, INC., A DELAWARE CORPORATION, WALGREEN Co., AN ILLINOIS
CORPORATION, THE PROCTER & GAMBLE COMPANY, HALEON US HOLDINGS
LLC, PUBLIX SUPER MARKETS, INC., AMAZON.COM, INC., AMAZON.COM
SERVICES LLC, KENVUE, INC., GLAXOSMITHKLINE LLC, RITE AID
CORPORATION, ALBERTSONS COMPANIES, INC., COSTCO WHOLESALE CORP.,

DEFENDANTS-APPELLEES,

DOES 1-200, GLAXOSMITHKLINE CONSUMER HEALTHCARE HOLDINGS (US)
LLC, RECKITT BENCKISER LLC, MERCK, MCNEIL CONSUMER
HEALTHCARE, SANOFI-AVENTIS U.S. LLC, CHURCH & DWIGHT Co. INC.,
ASSOCIATED WHOLESALE GROCERS INC, VALU MERCHANDISERS CoO.,
PFIZER INC., PERRIGO COMPANY PLC, HELEN OF TROY LIMITED,
DIERBERGS MARKETS, INC., RECKITT BENCKISER PHARMACEUTICALS INC.,
THE KROGER Co., HARRIS TEETER, LLC, HARRIS TEETER SUPERMARKETS,
INC., DOLGENCORP, INC., FAMILY DOLLAR, LLC.,

DEFENDANTS.

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CORPORATE DISCLOSURE STATEMENT

The Chamber of Commerce of the United States of America states that
it is a non-profit, tax-exempt organization incorporated in the District of
Columbia. The Chamber has no parent corporation, and no publicly held

company has 10% or greater ownership in the Chamber.
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STATEMENT OF INTEREST OF AMICUS CURIAE!

The Chamber of Commerce of the United States of America (the
Chamber) is the world’s largest business federation. It represents
approximately 300,000 direct members and indirectly represents the
interests of more than three million companies and _ professional
organizations of every size, in every industry sector, and from every
region of the country. An important function of the Chamber is to
represent the interests of its members in matters before Congress, the
Executive Branch, and the courts. To that end, the Chamber regularly
files amicus curiae briefs in cases, like this one, that raise issues of
concern to the nation’s business community.

In the context of over-the-counter (OTC) drugs regulated by the Food
and Drug Administration (FDA) monographs, the Chamber’s members
have a strong interest in the certainty and stability provided by FDA’s

uniform, national regime for drug product labels. An important reason

! No counsel for any party authored this brief in whole or in part, and
no entity or person, aside from amicus curiae, its members, or its counsel,
made any monetary contribution intended to fund the preparation or
submission of this brief. See Fed. R. App. P. 29(a)(4)(E). All parties have
consented to the filing of this brief.
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why Congress chose to prevent states from creating their own labeling
requirements for these products is that Congress wanted to protect the
stability and predictability of monograph labeling requirements for
manufacturers and retailers—and for consumers, who benefit from the
clarity and nationwide consistency produced by FDA’s monograph
regime. More broadly, the Chamber’s members have a strong interest in
ensuring that statutory preemption provisions, including provisions that
utilize language similar to the operative preemption language at issue
here, are correctly interpreted to cut off improper litigation and to ensure
uniform regulation of matters that Congress chose to govern by federal

law alone.?

INTRODUCTION AND SUMMARY OF ARGUMENT

When Congress establishes a detailed regulatory scheme, it often
chooses to expressly preempt related state requirements. That approach
makes sense. It ensures comprehensive regulation while maintaining

national uniformity and avoiding conflicting state standards that drive

2 This brief limits its focus to the question of whether the Plaintiffs’
claims under state law are preempted by federal law, and does not
analyze any other questions presented in this appeal.
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up costs on businesses and, ultimately, consumers. But if plaintiffs could
avoid even the broadest preemption clauses with artful pleading and
rhetorical sleight of hand, Congress's will would be subverted. That is
what Plaintiffs are trying to do in this case.

I.A. In the Food, Drug, and Cosmetic Act (FDCA), Congress
established a detailed federal regulatory scheme for drugs. The FDCA
sets out an intricate system for the approval of new drugs. And it creates
a separate, similarly detailed system (or “monograph”’) under which
certain drugs can be sold over the counter without a prescription.
Alongside this detailed scheme, Congress included a broad express
preemption clause that prohibits states from imposing any requirement
“that is different from or in addition to, or that is otherwise not identical

with,” the federal requirements. 21 U.S.C. § 379r(a)(2).2

3 Several other statutes contain preemption clauses with similar or
materially identical language. See, e.g., 21 U.S.C. § 379s(a) (prohibiting
any state cosmetic labeling or packaging requirement “that is different
from or in addition to, or that is otherwise not identical with,” federal
requirements); 21 U.S.C. § 360k(a) (provision related to medical devices
that prohibits states from establishing requirements “different from, or
in addition to” any requirements applicable under federal law); 7 U.S.C.
§ 136v(b) (Federal Insecticide, Fungicide, and Rodenticide Act preempts
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This case is about oral phenylephrine, a nasal decongestant the
FDA approved to be sold over the counter. To comply with federal
requirements, oral phenylephrine must be labeled as a “nasal
decongestant,’ and the label must say that it relieves nasal congestion.
21 C.F.R. § 341.80. If a manufacturer’s label meets these and other
regulatory requirements, it is “generally recognized as safe and effective
and is not misbranded” under federal law. 21 U.S.C. § 355h(a)(1).

Plaintiffs allege that Defendants know that oral phenylephrine is
ineffective in relieving nasal congestion and that they violated state
consumer protection laws by marketing oral phenylephrine as a nasal
decongestant. Plaintiffs contend that state law requires Defendants’ drug
labels to say that oral phenylephrine is not a nasal decongestant—the
opposite of what federal law demands. The state-law requirements

Plaintiffs seek to impose are plainly different from, in addition to, or

state requirements “in addition to or different from” federal
requirements); 21 U.S.C. § 678 (Federal Meat Inspection Act preempts
state requirements “in addition to, or different than’ federal
requirements.).
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otherwise not identical with, the federal requirements governing oral
phenylephrine. Plaintiffs’ state-law claims are therefore preempted.

I.B Plaintiffs try to avoid this straightforward conclusion by arguing
that the relevant state-law requirements are parallel to the FDCA’s
general prohibitions on misbranding. But Plaintiffs cannot avoid
preemption by pointing to these general federal prohibitions because
FDA made a specific judgment, applying its scientific expertise and
exercising its congressionally delegated authority, that the nasal
decongestants at issue here are safe and effective and not misbranded
when labeled consistent with the monograph. To be sure, Congress
created a specific procedure for revising monographs, and the FDA is
certainly free to revise the cough-and-cold monograph when and if it
decides that such revision is appropriate. See 21 U.S.C. § 355h(b)(4); see
also 21 C.F.R. § 10.30 (allowing any interested person to petition FDA to

make a national requirement). But unless and until the FDA revises the

4 FDA is, in fact, considering such a potential revision now. FDA News
Release, FDA Proposes Ending Use of Oral Phenylephrine as OTC
Monograph Nasal Decongestant Active Ingredient After Extensive Review,
U.S. Food & Drug Administration (Nov. 7, 2024), available at
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monograph, Defendants’ products are legal if sold consistent with the
current monograph’s requirements, and state law may not impose
labeling requirements that are different from federal requirements.

Plaintiffs’ state-law claims contradict both Congress's and FDA’s
judgment. Pretending that state-law claims are parallel merely because
they recite the federal prohibitions on misbranding—when the claims
contradict how FDA has applied those prohibitions to the specific
products at issue—would nullify Congress’s preemption provision.
Moreover, it would create a circuit split in how the federal courts of
appeals interpret this preemption language.

The Supreme Court’s decision in Loper Bright Enterprises v.
Raimondo, 603 U.S. 369 (2024), cannot save Plaintiffs’ state-law claims,
either. The district court did not improperly defer to the FDA’s
interpretation of any ambiguous statutory provision. On the contrary, the

district court exercised its independent judgment to interpret the FDCA’s

https://www.fda.gov/news-events/press-announcements/fda-proposes-
ending-use-oral-phenylephrine-otc-monograph-nasal-decongestant-
active-ingredient-after. “For now, companies may continue to market
OTC monograph drug products containing oral phenylephrine as a nasal
decongestant.” Id.
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preemption provision using standard tools of statutory interpretation.

I.C Plaintiffs’ state-law claims are also not saved by the FDCA’s
saving clause for claims that arise under “product liability law,” because
Plaintiffs have asserted consumer deception claims, not product liability
claims. A claim sounds in product lability when the plaintiff alleges
personal injury, death, or property damage caused by a defective product.
Plaintiffs have asserted no such injury, but rather claim that they would
not have purchased Defendants’ products but for their allegedly
misleading labels.

II. While the plain language of Congress’s preemption provision
resolves this case, it bears emphasis that Congress made a wise choice to
promote uniformity in interstate commerce and to preempt different
state labeling regimes. Under Plaintiffs’ theory, states would be able to
impose one-off labeling requirements that vary from FDA’s specific
requirements. That fragmented framework would mean that identical
products governed by a single FDA monograph could bear different
warnings in different states and would lead to manufacturers’

overloading their product labels with unwarranted warnings. Such
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inconsistency and over-warning would cause consumer confusion,
contrary to Congress’s decision to create a uniform, nationwide regime
administered by FDA. Complying with multiple state-law labeling
requirements would also raise the cost of distributing drugs, which would
reduce the availability of affordable products for consumers.

ARGUMENT
I. FEDERAL LAW PREEMPTS PLAINTIFFS’ STATE-LAW CLAIMS.

The district court properly dismissed Plaintiffs’ state-law claims as
preempted. Section 379r(a) provides that no state can establish or
continue any requirement for the labeling of an OTC drug that is
different from or in addition to, or that is not identical with, federal
requirements, including FDA labeling requirements. Plaintiffs’ state-law
claims here attempt to impose requirements that the FDA did not adopt.

A. Congress Preempted All Requirements That Are Not
Identical to Federal Requirements.

The FDCA establishes a detailed statutory framework for the
regulation of OTC drugs. First, the FDCA forbids the sale of misbranded
drugs, 21 U.S.C. § 331(a), and provides that drugs are misbranded if the

label is “false or misleading,’ 21 U.S.C. § 352(a). An OTC drug is
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“generally recognized as safe and effective and is not misbranded’ if it
meets two sets of requirements: a set of general requirements for all OTC
drugs and a set of conditions specific to that drug, listed in a regulation
called a “monograph.” 21 C.F.R. § 330.1.

“Like a recipe,” this monograph “provides the conditions under which”
an OTC drug is generally recognized as safe and effective. Nat. Res. Def.
Council, Inc. v. FDA, 710 F.3d 71, 75 (2d Cir. 2013), as amended (Mar.
21, 2013). An OTC drug’s label has four parts: a statement of identity
(saying what the drug is), the indications for use (how the drug can be
used), warnings, and directions for use. See, e.g., 21 C.F.R. § 341.80. Like
other monographs, the monograph for nasal decongestant drug products
specifies exactly what the indications must say, as well as additional
language that may be included. See id. Relevant here, an OTC nasal
decongestant must say either “[flor the temporary relief of nasal
congestion” or “[t]emporarily relieves nasal congestion.” 21 C.F.R. §
341.80(b)(1). This statement “may be followed” by any of several possible
phrases, such as “due to the common cold,” “due to a cold,” or “due to hay

fever.” Id. § 341.80(b)(1)G), Gi). For the indications, the statute and
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regulations also permit manufacturers to include “[o]ther truthful and
nonmisleading statements, describing only the [approved] indications for
use.” Id. § 341.80(b).

Critically, the FDCA preempts “any requirement that relates to the
regulation of a drug... that is different from or in addition to, or that is
otherwise not identical with, a requirement under this chapter.” 21
U.S.C. § 379r(a). Cases interpreting the FDCA’s preemption clause and
similar preemption provisions in other statutes confirm that state law
may not impose labeling requirements that are different from those
required under federal law.

Indeed, this Court in Critcher v. L’Oreal USA, Inc., 959 F.3d 31 (2d
Cir. 2020), interpreted the FDCA’s similar provision for cosmetics, which
preempts any state requirement “different from or in addition to, or that
is otherwise not identical with,” the FDCA’s cosmetics requirements. 21
U.S.C. § 379s(a). The FDCA requires that a cosmetics container state “the
net quantity of contents’—1.e. how much of the product is inside the
container. Critcher, 959 F.3d at 35 The plaintiffs in Critcher alleged that

the label’s volume description was misleading because although it

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accurately stated the net volume (and thus complied with the FDCA’s
requirements), it failed to mention that a small portion of that volume
could not be accessed. Jd. at 36. The plaintiffs argued that state law
required “an additional disclosure” stating that some of the net volume
was inaccessible. Id.

This Court held that plaintiffs’ state-law claims were preempted
because the plaintiffs could not “us[e] state law to impose labeling
requirements on top of those already mandated in the FDCA and the
regulations promulgated thereunder.” Jd. And the disclaimers plaintiffs
sought to include were “‘different from,’ or ‘in addition to—or otherwise
‘not identical with” the labeling “requirements that federal law already
imposes.” Id. “This is exactly what the FDCA does not permit.” Id. That
analysis is binding, and it applies here.

Other circuits have interpreted similar preemption statutes and
reached the same conclusion. For example, in Weber v. Allergan, Inc., the
Ninth Circuit interpreted the preemption provision in the FDCA’s
Medical Device Amendments (MDA), which preempts any state

requirement “different from, or in addition to” the federal requirements.

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940 F.3d 1106, 1110-11 (9th Cir. 2019) (quoting 21 U.S.C. § 360k(a)). The
court held that the only state-law requirements that are not preempted
are those that are identical to “a particular pre-market approval or other
FDA requirement.” Jd. at 1112. The Seventh Circuit reached a similar
conclusion in interpreting the FDCA’s food labeling provisions. See Turek
v. Gen. Mills, Inc., 662 F.3d 423 (7th Cir. 2011). In that case, as here, the
challenged labeling was “compliant with [FDA] regulation,” and “[t]he
disclaimers that the plaintiff want[ed] added to the labeling... [welre
not identical to the labeling requirements imposed on such products by
federal law.” Id. at 427. Accordingly, the court held that the proposed
disclaimers were “barred” by the FDCA. Id.

Many district courts have also interpreted the FDCA’s preemption
provision in the context of OTC drugs and concluded that similar claims
seeking to impose alternative labels were preempted. For example, ina
series of cases challenging the labels on OTC acne medications, the
plaintiffs claimed that manufacturers should have included warnings
stating that one component of the acne medications degraded into

benzene, which is toxic. See, e.g., Howard v. Alchemee, LLC, No. 2:24-cv-

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01834-SB-BFM, 2024 WL 4272931 (C.D. Cal. Sept. 19, 2024). The court
rejected that claim, holding that because the monograph did not require
a warning, the plaintiffs “allegation that [the manufacturer] should have
warned about the presence of benzene on [the drug’s] label is therefore
preempted because it would be an ‘addition’ not required by federal law.”
Id. at *3. Similarly, in Smoter v. Mentholatum Co., No. 24 CV 4155, 2025
WL 273437 (N.D. Ill. Jan. 17, 2025), the court reasoned that because
“[t]he provided language for labelling topical OTC acne medication does
not include warnings about benzene,” “to the extent the plaintiffs argue
the labels of the [acne medications] should have warned them of the
possibility of benzene or included benzene as an ingredient, these claims
are preempted by federal law and must fail.” Jd. at *2. In another case,
the court reasoned that plaintiffs claims were preempted because “the
FDA’s monograph for [the OTC medication at issue] already regulates
the labeling of the Products, and the monograph requires neither the
disclosure nor the warning that [plaintiff] seeks.” Eisman v. Johnson &
Johnson Consumer, Inc., 2:24-cv-01982-ODW (AJRx), 2025 WL 24102, at

*4 (C.D. Cal. Jan. 17, 2025).

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The same is true here. Plaintiffs contend that Defendants should not
be allowed to call oral phenylephrine a nasal decongestant. See Opening
Br. at 23. But under the FDCA and its regulations, oral phenylephrine’s
“statement of identity” must “identif[y] the product as a ‘nasal
decongestant.” 21 C.F.R. §§ 201.61(b), 341.80(a). Plaintiffs’ requested
relief, which would require Defendants to omit the statement that oral
phenylephrine is a decongestant, is plainly “different from,” “in addition
to,” and “not identical with,” the federal labeling requirement. 21 U.S.C.
§ 379r(a)(2).

Plaintiffs also claim that it is deceptive for Defendants not to disclose
that oral phenylephrine allegedly is ineffective because it does not relieve
nasal congestion. Opening Br. at 28-29, n.12. But again, FDA’s
monograph requires the label for OTC oral phenylephrine to state that

the drug “temporarily relieves nasal congestion.” 21 C.F.R. §

341.80(b)(1).5 A state-law requirement to say the opposite—that oral

5 Defendants may also say that oral phenylephrine is “[flor the
temporary relief of nasal congestion,” or use “[o]ther truthful and
nonmisleading statements” that say the same thing. 21 C.F .R.
§ 341.80(b)(1).

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phenylephrine does not relieve nasal congestion—is unquestionably
“different from,” “in addition to,” and “not identical with” the FDCA’s
requirement. 21 U.S.C. § 379r(a)(2). Indeed, it would flatly contradict the
required statement.

Finally, Plaintiffs argue that it was misleading for Defendants to refer
to some oral phenylephrine as “maximum strength,” again because oral
phenylephrine allegedly does not work. Opening Br. at 35-86. As with
the other contentions described above, this argument contradicts the
monograph provision requiring the statement that oral phenylephrine
relieves nasal congestion. 21 C.F.R. § 341.80(b)(1). Moreover, the
maximum strength statement is “based entirely upon FDA-approved
labeling and advertising” and “simply restates” the maximum approved
dosage. Carter v. Novartis Consumer Health, Inc., 582 F. Supp. 2d 1271,
1283-84 (C.D. Cal. 2008).

In sum, because Plaintiffs’ state-law claims rest on the notion that
state law imposes requirements that are different from, in addition to, or
otherwise not identical with, federal requirements, those state-law

claims are preempted.

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B. Plaintiffs Cannot Avoid Preemption By Reframing
Their State-Law Claims As Parallel To the General
Prohibitions on Misbranded Drugs.

Plaintiffs attempt to avoid preemption by arguing that the state-law
requirements they seek to enforce simply parallel federal law. This
argument is based on rhetorical sleight of hand, and courts have
uniformly rejected it.

Although some courts have allowed plaintiffs to bring claims under
state laws that parallel federal law, those courts have held that “the
plaintiff must be suing for conduct that violates the FDCA (or else his
claim is expressly preempted).” Elkind v. Revlon Consumer Prods. Corp.,
No. 14-CV-2484(JS)(AKT), 2015 WL 2344134, at *6 (E.D.N.Y. May 14,
2015) (citation omitted) (alteration adopted; emphasis in original); see
also Booker v. E.T. Browne Drug Co., 20-CV-03166 (PMH), 2021 WL
4340489, at *6 (S.D.N.Y. Sept. 28, 2021) (“the conduct underlying the
claim must violate the FDCA”). Under this theory, if state law
independently imposes a requirement that is identical to a requirement

in the FDCA, such that a violation of the state law necessarily is also a

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violation of the FDCA, a claim under the state law is not expressly
preempted.®

Plaintiffs attempt a similar argument here, but even if those decisions
are correct Plaintiffs cannot “thread [the] very narrow needle’ required
“to avoid preemption.” Booker, 2021 WL 4840489, at *6. Plaintiffs’ state-
law claims are brought under statutes that forbid deceptive practices.

Plaintiffs highlight the similarity between those statutes and the FDCA’s

6 For example, FDCA lays out specific processes for manufacturing
drugs, see Williams v. Galderma Lab’ys, No. 24 CV 2222, 2024 WL
4213220, at *5 (N.D. Ill. Sept. 17, 2024) (citing 21 U.S.C. § 331(a)); 21
C.F.R. § 351(a)(2)(B)), and the MDA establishes analogous processes for
medical devices, see Weber, 940 F.3d at 1113-14 (discussing 21 C.F.R.
§§ 820.72—-820.90). Some state laws impose the same exact obligations.
See, e.g., Bausch v. Stryker Corp., 630 F.3d 546, 554 (7th Cir. 2010).
Where such a parallel state law exists, some courts have held that a
plaintiff may sue under that state law for conduct that would also violate
the federal statute, so long as there is no other part of the federal statute
or implementing regulations that conflicts with the alleged state-law
obligation. See, e.g., Weber, 940 F.3d at 1111 (citing Riegel v. Medtronic,
Inc., 552 U.S. 312, 330 (2008)); see also Barnes v. Unilever U.S. Inc., No.
21 C 6191, 2023 WL 2456385, at *5 (N.D. Ill. Mar. 11, 2023) (“unfair
practices claims are accordingly parallel to federal law . . . because the
claims do not impose any requirements that differ from federal law’).
However, some judges have argued that state-law claims “defined
entirely by a federal regulation adopted under the FDCA” are “impliedly
preempted.” Davidson v. Sprout Foods, Inc., 106 F.4th 842, 862-63 (9th
Cir. 2024) (Collins, J., dissenting) (first emphasis in original; second
emphasis added).

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general prohibition against false and misleading labeling and contend
that because the state and federal laws use similar language, their state-
law claims are not preempted. Opening Br. at 28—29 (citing 21 U.S.C. §
352(a)(1)). But Plaintiffs ignore the monograph’s specific provisions for
nasal decongestants. Comparing the monographs more _ specific
provisions with Plaintiffs’ interpretation of state law reveals that
Plaintiffs’ alleged requirements do not parallel federal law. Instead,
under Plaintiffs’ interpretation, state law would require Defendants to
say the opposite of what federal law requires. See supra, Section I.A.
The public enforcement provision of the FDCA illustrates the
absurdity of Plaintiffs’ argument. Plaintiffs’ state law claims must
parallel the requirements of the FDCA, which is enforced by the FDA.
See supra, Section I.A. If Plaintiffs’ claims actually paralleled the FDCA’s
requirements, such that Defendants’ alleged misconduct also violated the
FDCA, the necessary implication is that the FDA could sue an OTC drug
manufacturer for complying with the FDA’s own monograph. That cannot

be the law.

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Plaintiffs’ argument invites this Court to violate the Supreme Court’s
admonition that complex statutes like the FDCA must be interpreted “as
a symmetrical and coherent regulatory scheme.” Gustafson v. Alloyd Co.,
513 U.S. 561, 569 (1995); see also Corley v. United States, 556 U.S. 308,
314 (2009) (“A statute should be construed so that effect is given to all its
provisions, so that no part will be inoperative or superfluous, void or
insignificant.” (quoting Hibbs v. Winn, 542 U.S. 88, 101 (2004)
(alterations adopted)). Here, the FDCA provides that a “drug is deemed
to be generally recognized as safe and effective’ if it is “in conformity with
the requirements for nonprescription use of a final monograph issued
under [21 C.F.R. § 330, et seq.]” and the other requirements imposed by
the FDCA. 21 U.S.C. § 355h(a)(1)(A). The FDA’s monographs for OTC
drugs are a core component of the overall regulatory scheme, and this
Court should not render section 355h and the FDA’s implementing
regulations “inoperative or superfluous.” Corley, 556 U.S. at 314 (citation
omitted).

This Court has already considered and rejected Plaintiffs’ theory. See

Critcher, 959 F.3d at 37. In Critcher, the plaintiffs argued that their

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state-law claims “enforce[d] the general FDCA requirement|] .. . that
labels not be ‘false and misleading in any particular[.]” Critcher, 959 F.3d
at 37 (citing 21 U.S.C. § 362(a)).7 In response, the court noted that in
addition to the FDCA’s general prohibition against misbranding
cosmetics, the FDA had “promulgated rules’ of a “technical nature.” Id.
at 38. Considering “Congress’s broad, categorical statement of
preemption in the FDCA,” the court reasoned that if it interpreted state
law to impose “additional labeling requirements, [it] would be construing
state law to impose many ‘requirements’ that are not contained in the
federal statute, or in the regulations issued thereunder, and to disrupt
what Congress intended to be a uniform—and federally-led—regulatory
scheme.” Jd. (emphasis in original).

Other courts have similarly rejected the argument that state law can
impose labeling requirements that are “fundamentally at odds with the
FDA’s monograph[s].” Zisman, 2025 WL 241024, at *5 (citation omitted).

Indeed, if Plaintiffs “were permitted to proceed on the theory that [their]

7 The plaintiffs in Critcher also argued that their state-law claims
paralleled a general provision of the FDCA that is not relevant here. 959
F.3d at 37-88 (citing 21 U.S.C. § 362(d)).

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claims are parallel to” federal regulations just because the FDCA
prohibits misbranding, “any finding of liability .. . would conflict with
preexisting regulations’ deeming the drug at issue not misbranded. Seale

v. GSK Consumer Health, Inc., 718 F. Supp. 3d 1208, 1222 (C.D. Cal.

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2024). As another court recently recognized, Plaintiffs’ “theory” is
“essentially an attack on the FDA’s determination that” the drugs at
issue are “generally recognized as safe and effective and not misbranded
if they comply with the monograph.” Howard, 2024 WL 4272931, at *7
(cleaned up). Indeed, if Plaintiffs’ argument sufficed to avoid preemption,
the preemption provision would be illusory, as a plaintiff could always
point to parallel general language in the statute and ignore FDA
regulations inconsistent with state law. That reading of the preemption
provision “would do exactly what Congress, in passing § 379r of the
FDCA, sought to forbid: us[e] state law causes of action to bootstrap
labeling requirements that are not identical with federal regulation.”

Bowling v. Johnson & Johnson, 65 F. Supp. 3d 371, 376 (S.D.N.Y. 2014)

(internal quotation marks and citation omitted).

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Contra Plaintiffs’ contention (Opening Br. at 17—20), the Supreme
Court’s recent decision in Loper Bright Enterprises v. Raimondo, 603 U.S.
369 (2024), does not authorize this Court to ignore the FDA’s monograph
in determining the scope of FDCA preemption. In Loper Bright, the
Supreme Court held that the Administrative Procedure Act (APA) does
not allow courts to defer to an agency’s interpretation of an ambiguous
statute. 603 U.S. at 391 (quoting 5 U.S.C. § 706). Here, however, the
district court did not give Chevron deference to the FDA’s interpretation
of the FDCA’s preemption provision, so Loper Bright does not undermine
the district court’s analysis.

Plaintiffs’ real complaint is not that the district court improperly
deferred to the FDA’s interpretation of the statute, but rather that the
district court considered the monograph a federal “requirement” for
purposes of preemption. But Congress expressly authorized the FDA to
promulgate monographs for OTC drugs, 21 U.S.C. § 355h(a)(1), and it
expressly deemed drugs marketed in conformance with those
monographs “safe and effective” when it passed the CARES Act in 2020,

id. § 355h(a)(1). Exercising that expressly delegated authority, the FDA

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promulgated its monograph for oral phenylephrine, 21 C.F.R. § 341.80,
and the district court correctly concluded that each provision of that
monograph is “a requirement under [the FDCA]” for preemption
purposes. 21 U.S.C. § 379r(a)(2).8

C. Plaintiffs’ State-Law Claims Are Not Product

Liability Claims and Thus Are Not Saved From
Preemption.

Plaintiffs also try to rescue their state-law claims from preemption by
arguing that they are “product liability’ claims and thus fall within the

FDCA’s saving clause. Opening Br. at 15. That argument fails because

8 To the extent Plaintiffs are contending that the monograph is
factually incorrect because oral phenylephrine is ineffective, that is not a
question of statutory interpretation, but rather a veiled arbitrary-and-
capricious challenge to the FDA’s regulation. It would be especially
inappropriate to second-guess the factual foundation for the agency’s
monograph in the context of a tort suit where the agency is not even a
party, particularly when Congress has provided a separate avenue for
challenging the contents of a monograph. See 21 U.S.C. § 355h(b)(1)(A)
(interested party may request administrative order regarding safety and
efficacy of OTC drugs); 21 U.S.C. § 355h(b)(2)(A)Gv)CID) (dispute
resolution process for OTC drug orders); 5 U.S.C. § 553(e) “Each agency
shall give an interested person the right to petition for the issuance,
amendment, or repeal of a rule.”); 5 U.S.C. § 704 Gudicial review
available for final agency action); see also 21 C.F.R. § 10.30 (authorizing
citizen petitions to FDA).

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these claims do not involve any alleged personal injury, death, or
property damage.

The FDCA’s saving clause provides that “[nJothing in” the preemption
clause “shall be construed to modify or otherwise affect any action or the
liability of any person under the product liability law of any State.” 21
U.S.C. § 379r(e). The FDCA does not define “product liability law,” and
“where a federal statute uses a term with a settled meaning in the
common law, ‘a court must infer, unless the statute otherwise dictates,
that Congress meant to incorporate the established meaning’ of the
term.” In re Acetaminophen - ASD-ADHD Prods. Liab. Litig., 22md3043
(DLC), 2023 WL 3045802, at *4 (S.D.N.Y. Apr. 21, 2023) (quoting Felder
v. U.S. Tennis Ass'n, 27 F.4th 834, 843 (2d Cir. 2022)). Applying this
inference, courts have uniformly interpreted “product liability law” to
exclude claims for false and deceptive advertising.

As the court explained in Jn re Acetaminophen, “product liability law
refers to a body of law, originally developed through the common law,
aimed at providing relief for personal and property damage caused by

defective products.” Id. Black’s Law Dictionary defines a product liability

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action as a claim “for personal injury, death, or property damage caused
by the manufacture, construction, design, formulation, installation,
preparation, or assembly of a product.” Products-Liability Action, Black’s
Law Dictionary (12th ed. 2024). In other words, if a defective product
injures the consumer or his or her property, the claim sounds in product
hability. By contrast, the claim that a product does not work as
advertised, or does not have the advertised properties, is a claim for
deceptive practices or false advertising. See, e.g., N.Y. Gen. Bus. Law §
349(a) (declaring unlawful all “[d]eceptive acts or practices in the conduct
of any business, trade or commerce or in the furnishing of any service in
this state”); People by James v. PepsiCo, Inc., 222 N.Y.S.3d 907, 915 (N.Y.
Sup. Ct. 2024) (“Because the legislature was concerned with the impact
of deceptive conduct on consumer purchases, General Business Law § 349
prohibits deceptive acts and practices that misrepresent the nature or
quality of products and services.”) (citing Himmelstein, McConnell,
Gribben, Donoghue & Joseh, LLP v. Matthew Bender & Co., 37 N.Y.3d

169, 176 (2021)).

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Here, Plaintiffs are not seeking recovery for alleged injuries caused by
ingestion of oral phenylephrine. Instead, they are seeking to recover for
the cost of purchases they allegedly made after being deceived by labels
falsely claiming that oral phenylephrine relieves congestion. That claim
sounds in consumer deception, not products liability, and courts have
recognized that “product liability law does not include pure economic loss
actions’ like those Plaintiffs assert here. Goldstein v. Walmart, Inc., 637
F. Supp. 3d 95, 1138, n.7 (S.D.N.Y. 2022) (internal quotations and
citations omitted); see also, e.g., Mills v. Warner-Lambert Co., 581 F.
Supp. 2d 772, 790-93 (E.D. Tex. 2008) (citing Tex. Civ. Prac. & Rem. Code
§ 82.001(2)) (Plaintiffs’ claims [under Texas law] do not arise out of
personal injury, death, or property damage... [als such, they are not
products liability actions.” (internal quotations omitted)); Kanter v.
Warner-Lambert Co., 99 Cal. App. 4th 780, 790 (2002) (“Under the
product liability law of California, injury to the plaintiff from a defective

product is an essential element of a cause of action.”) (citations omitted).

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In short, Plaintiffs’ state-law claims do not arise under “product
lability law,” and thus the saving clause in section 379r(e) does not

apply.

II. CONGRESS'S DECISION TO EMPOWER FDA TO IMPOSE UNIFORM
LABELING REQUIREMENTS REPRESENTS SOUND POLICY

“It is Congress's job to craft policy and [the courts’] to interpret the
words that codify it.” Bd. of Trs. of Bakery Drivers Loc. 550 & Indus.
Pension Fund v. Pension Benefit Guar. Corp., 136 F.4th 26, 31 (2d Cir.
2025) (citing Lackey v. Stinnie, 145 S. Ct. 659, 669 (2025)).

In enacting the preemption provision here, Congress demonstrated its
intent to provide consumers with labels that effectively and uniformly
convey crucial health and safety information. Permitting states to impose
“(djifferent or additional requirements,” as Plaintiffs urge this Court to
do, would not only “work against [the] national marketplace,” but also
“confuse consumers, raise prices, [and] undermine public confidence in
our regulatory system.” S. Rep. No. 105-48, at 64 (1997).

A. Non-uniform Safety and Labeling Requirements
Would Generate Customer Confusion.

One inevitable consequence of permitting each state to impose its own

labeling requirements—or of allowing juries to determine when labels

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are misleading on a case-by-case basis—is consumer confusion.
Consumers typically purchase OTC products without the assistance of a
medical professional, so it is especially important for them to be able to
understand what they are purchasing. If the same OTC drug bore
different warnings in different states, consumers across the country
would be confused about the actual risks associated with those products.

FDA has designed OTC drug labels to facilitate consumer
understanding. In adopting a standardized “Drug Facts” label for all OTC
products in 1999, FDA emphasized the importance of clear, readable
labels with “the least amount of information possible to assure proper
self-selection and use” of the medication. Over-The-Counter Human
Drugs; Labeling Requirements, 64 Fed. Reg. 13,254, 13,269 (Mar. 17,
1999). Jumbled warnings and indications that change from state to state
would undermine the goal of assuring proper self-selection and use of
OTC medication.

Moreover, if labels were overloaded with disclaimers to avoid potential
litigation or liability, this could cause consumers to discount all the

warnings. For decades, FDA has expressed concern that, for OTC

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products, “if labeling contains too many required statements, ... the
impact of all warning statements on the label will be reduced.” General
Labeling Conditions, 40 Fed. Reg. 11,717, 11,717 (Mar. 18, 1975). Indeed,
FDA considers overwarning to be a concern even for prescription drug
labels. When working with manufacturers to develop an appropriate
label, FDA ensures that there is a “hierarchy of label information ...
designed to ‘prevent overwarning’ so that less important information
does not ‘overshadow more important information.” Merck Sharp &
Dohme Corp. v. Albrecht, 587 U.S. 299, 304 (2019) (quoting 73 Fed. Reg.
49,603, 49,605—49,606 (Aug. 22, 2008)). FDA further seeks to ensure that
labels “exclude ‘exaggeration of risk, or inclusion of speculative or
hypothetical risks,’ that ‘could discourage appropriate use of a beneficial
drug.” Id. (quoting 73 Fed. Reg. 2848, 2851 (Jan. 16, 2008)) (alteration
adopted). Allowing states to tack on additional warnings would weaken
the important warnings that FDA has chosen and would risk
discouraging the appropriate use of safe and effective drugs.

The accompanying Senate Report to the bill that established § 379r

highlighted exactly these concerns. “Different or additional requirements

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a[t] the State or local level can work against our national marketplace,
confuse consumers, raise prices, undermine public confidence in our
regulatory system and in products important to the public health, and
result in divergent public health protection throughout the country.”
S. Rep. No. 105-43, at 64. Congress considered these risks and
determined that uniformity was necessary.

That choice makes sense. Because “[nJonprescription drugs are subject
to careful and comprehensive regulation by the FDA,” there would be
little benefit to any extra layer of regulation. Jd. Congress thus made the
choice to bar states from “impos|ing] different or additional requirements
that relate to the subject matter covered by ... Federal laws as they apply
to nonprescription drugs and cosmetics,” including “requirements
imposed on product manufacture or composition, labeling, advertising, or
any other form of public notification or communication.” Id.

B.A Patchwork of Labeling Regimes Would Increase

Costs for Businesses Providing Needed Medications
and, Ultimately, for Consumers.

Allowing idiosyncratic labeling requirements under state law would
also increase regulatory compliance and litigation costs. The concern that

a regulatory patchwork would “raise prices’ for OTC products was top of

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mind when Congress enacted the preemption provision here. S. Rep.
No. 105-48, at 64. Minimizing costs to consumers by limiting litigation
over requirements that FDA chose not to impose is a worthwhile goal
that Congress properly pursued.

Navigating a labyrinth of varying state requirements would impose
higher costs and burdens on pharmaceutical manufacturers and,
ultimately, on consumers. If each state could have its own unique
labeling requirements, companies would have to perform continuous
monitoring across 50 states, engage in frequent legal consultations, and
undertake label redesigns. As the Seventh Circuit put it,
“[mjanufacturers might have to print 50 different labels, driving
consumers who buy .. . products in more than one state crazy.” Turek,
662 F.3d at 426. Such an approach would increase costs for all
manufacturers, large and small, and could force small and mid-sized
firms out of the market altogether. The result would be to reduce the
availability of affordable FDA-approved products for ordinary

consumers.

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Opening the door to state-law litigation over requirements that FDA
chose not to impose would also force drug manufacturers and retailers to
engage in costly legal battles to defend against state-specific claims that
may differ from jurisdiction to jurisdiction. This is no small risk. The U.S.
tort system’s commercial-liability costs totaled $347 billion in 2021, an
increase of 19 percent over the year before. See Press Release, U.S.
Chamber of Com. Inst. for Legal Reform, New U.S. Chamber Study
Shows Lawsuit System Costs Small Businesses $160 Billion (Dec. 5,
2023), available at https://instituteforlegalreform.com/press-release/new-
u-s-chamber-study-shows-lawsuit-system -costs-small-businesses- 160-
billion/. Those costs are often passed on to consumers, who face higher
prices and fewer valuable products to choose from.

Congress wisely determined that the costs of a patchwork regulatory
system were too great to foist on businesses and consumers. It
accordingly adopted, “as a general rule, the requirement of national
uniformity in the regulation of nonprescription drugs.” Goldstein, 637 F.
Supp. 3d at 104 (quoting S. Rep. No. 105-48, at 64); see also 21 U.S.C.

§ 379r. “Under the legislation, national uniformity is provided for all of

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the types of requirements for nonprescription drugs... under State laws
that are related to requirements included in the Federal laws, e.g.,
requirements to prevent adulteration or misbranding or other illegal
marketing or to issue public notice about the safety of constituents.”
Goldstein, 637 F. Supp. 3d at 104 (quoting S. Rep. No. 105-43, at 64).
Simply put, Congress chose to preempt “[s]tate suits seeking to require
product labels inconsistent with the federal objective of national
uniformity.” Silva v. Haleon US Inc., 758 F. Supp. 3d 1082, 1088 (N.D.
Cal. 2024) (quoting Eckler v. Neutrogena Corp., 238 Cal. App. 4th 438,
455 (2015)). That policy choice should be respected.

CONCLUSION

This Court should hold that the state-law claims at issue in this case

are preempted by the FDCA.

Dated: June 6, 2025
Respectfully submitted,

/s/ Robert E. Dunn

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United States of America

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CERTIFICATE OF COMPLIANCE

Pursuant to Federal Rule of Appellate Procedure 32(g), I certify the
following:

This Brief complies with the type-volume limitation of Federal Rules
of Appellate Procedure 29(a)(5) and 32(a)(7)(B) and Circuit Rule 29.1(c)
and 32.1(a) because it contains 6,187 words, excluding the parts of the
Brief exempted by Federal Rule of Appellate Procedure 32(f).

This Brief complies with all typeface requirements of Federal Rules of
Appellate Procedure and 32(a)(5)—(6) and Circuit Rule 32.1(a), because it
has been prepared in a proportionally spaced typeface using Microsoft

Word in 14-point Century Schoolbook.

Dated June 6, 2025.

/s/ Robert E. Dunn
ROBERT E. DUNN

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CERTIFICATE OF SERVICE

I hereby certify that on this 6th day of June 2025, I filed the foregoing
Brief with the Clerk of the Court using the CM/ECF System, which will

send notice of such filing to all registered CM/ECF users.

/s/ Robert E. Dunn
ROBERT E. DUNN

